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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE:         OIL SPILL by the OIL RIG
                                 *                                  MDL No. 2179
               “DEEPWATER HORIZON” in the
                                 *
               GULF OF MEXICO, on*                                  SECTION J
               APRIL 20, 2010    *
                                 *                                  JUDGE BARBIER
THIS DOCUMENT RELATES:           *                                  MAG. JUDGE SHUSHAN
                                 *
IN RE: TRITON ASSET LEASING GmbH *
Case No. 2:10-cv-02771-CJB-SS    *
                                 *
*********************************

                                            ORDER

        Considering the Motion for Acceptance of Limitation Short Form Joinder Filed After the

September 16, 2011 Deadline:

        IT IS ORDERED that the late-filed Short Form Joinder, Document No. 112280 filed by

Movant, Columbia Street Seafood LLC on March 16, 2012 shall be considered as a timely filed

claim in the Transocean Limitation (Civil Action No. 10-2771), as well as properly joined in the B1

and/or B3 Bundle Amended Master Complaints, in accordance with Pre-Trial Orders Nos. 24 and

25.

               Signed this _____ day of ___________________ 2012.


                                                     _______________________________
                                                           Honorable Carl J. Barbier,
                                                           U.S. District Court Judge
Case 2:10-md-02179-CJB-DPC Document 6062-2 Filed 03/16/12 Page 2 of 2




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